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Exhibit G (1'evised 5/11/09)
RD KY ANNo. 001 (lQSS-A & 3550)

UNITED STATES DISTRICT COURT ii ‘
EASTERN DISTRICT OF KENTUCK -
ASHLAND DIVISION

CIV]L ACTION NO. 0:16-CV-00024-HRW

UNITED STATES OF _AMERICA,
VS.

SHIRLEY LU_CAS (a/l</a Shirley L. Lucas), and
UNKNOWN SPOUSE OF SHIRLEY LUCAS
(a/k/a Shirley L. Lucas) DEFENDANT(S)

OATH OF APP_RAISER

I, the undersigned, a Kentucky Certified/Licensed Applaisei holding Registraticn Nurnber
having been duly sworn, state:

l. That I have no interest'in the property being appraised and arn not related by blood, marriage
or otherwise to any of the parties to the foreclosure acticn;

2. That l am aware of the provisions under 38 U.S.C. Sabsection 208 and l disqualify myself or
anyone else acting on my behalf from bidding on the property which l have appraised;
and

3. That I have appraised the fair mar et val11e o fthe propeny which is the subject of the
above-captioned action to be $ \§ (:jf: *” 5 °" .

 

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van o iin
W// : f \ PPRAISER
Subscribed and sworn to before me byr_% 5 \J/v\;»/

Certifred Appiaiser Nurnber , ,‘fhis ,,,? ‘=, day of

MOMA' 2017

NoTARY PU'BLIC KY sTATE AT LARGE

 

 

My Cornmission Expircs: c>z@ / ?

 

 

